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                                                                 U.S. Department of Ju tice


                                                                      United States Attorney
                                                                    Northern District of Ohio

                                                                         United States Court House
                                                               801 West Superior Avenue, Suite 400
                                                                      Cleveland, Ohio 44113-/852
                                                                              Main: 216-622-3600
                                                                         Facsimile: 216-522-4982




                                                                         December 10, 2018


Kyle Wright

Stafford, VA 22554


              Re: Subpoena in In re: National Prescription Opiate Litigation , MDL No.
                  2804 (N.D. Ohio)

Dear Mr. Wright:

        You have been requested by counsel for defendants in the above captioned case to
appear at a deposition and testify regarding official Department of Justice information.
The Drug Enforcement Administration (DEA) was notified of this request and has stated
that it has no objections to a limited authorization as set forth below for you to appear
and testify. Therefore, pursuant to 28 C.F.R. § 16.24, you are hereby authorized to
appear and to give non-privileged, factual testimony within your personal knowledge
regarding the following:

       1.     Your general employment history with the DEA;

      2.      Your general duties in your various positions held in DEA;

      3.      Your personal recollection of your practices and procedures relating to
              ARCOS data and suspicious order reports;

      4.      Your personal recollection of your interactions with registrants when a
              distributor terminated its relationship with a customer due to the risk of
              diversion;

      5.      Your personal recollection regarding "DEA's interpretation and
              enforcement of, and practices related to 21 U .S.C. § 823 and 21 C.F.R.
              1301. 7 4" to the extent covered by the foregoing authorized specific topi cs.
                                                                                          GOVERNMENT
                                                                                            EXHIBIT

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       With regard to these authorized areas of testimony, you are not authorized to
disclose any information that would disclose privileged information, including, but not
limited to, the following:

       A . Information regarding any specific DEA investigations or activities;

       B. Classified and classifiable information;

       C. Information that would reveal the internal deliberative process within the
          United States Department of Justice, including the DEA, the United States
          Attorney's Office, and/or any other federal departments or agencies;

       D. Information that would reveal a confidential source or informant;

       E. Information the disclosure of which would violate a statute, including laws
          governing grand jury proceedings;

       F . Information that could threaten the lives or safety of any individual , including
           home addresses of law enforcement personnel;

       G. Information that could interfere with ongoing investigations and/or
          prosecutions;

       H. Information that could reveal investigative or intelligence gathering and
          dissemination techniques whose effectiveness would be thereby impaired;

       I.   Privileged attorney-client information;

       J. Information that would reveal attorney work product or matters of
          prosecutorial discretion;

       K. Expert opinion testimony related to non-public facts or information acquired
          as part of your performance of your official duties ;

       L. Personal opinions regarding non-public facts or information acquired as pa1i of
          your performance of your official duties ; and

       M. Any non-public recommendations you made or you were aware of concerning
          any proposed agency action.

       If you are asked to testify beyond the limits stated above, you should respectfu lly
decline to answer and explain that 28 C.F.R. § 16.22(a) precludes you from doing so.
Further, you are not authorized to disclose official information on any other subject. If
you have any questions, please do not hesitate to contact DEA Assistant Deputy Chief
Counsel Sandra Stevens or Assistant U.S. Attorney James Bennett (216-622-3988).




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                             AV A ROTELL DUSTIN
                             Executive Assistant United States Attorney
                             Office of the United States Attorney
                             Northern District of Ohio
                             Acting Under Authority Conferred by 28 U .S.C. § 515




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